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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
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                                           )
National Council of Nonprofits, et al.,    )
                                           )
                            Plaintiffs,    )
                                           )
                     v.                    )    Civil Action No. 1:25-cv-239 (LLA)
                                           )
Office of Management and Budget, et al.,   )
                                           )
                            Defendants.    )
__________________________________________)

                DEFENDANTS’ NOTICE OF FACTUAL DEVELOPMENTS

       On January 27, 2025, the Office of Management and Budget (“OMB”) issued a

Memorandum, “requir[ing] Federal agencies to identify and review all Federal financial assistance

programs and supporting activities consistent with the President’s policies and requirements.”

OMB Mem. M-25-13, Temporary Pause of Agency Grant, Loan, and Other Financial Assistance

Programs (Jan. 27, 2025). On January 28, 2025, Plaintiffs filed the instant action against two

Defendants—OMB and the Acting Director of OMB—seeking an order nullifying Memo M-25-

13. See Complaint (ECF No. 1) at 2-3.

       Later that same day, the Court held an Emergency Hearing at which time it ordered an

administrative stay of Memo M-25-13.            See Order (Jan. 28, 2025) (ECF No. 13). The

administrative stay did not, however, affect the implementation of M-25-13 as it pertains to the

“issuance of new awards” or “other relevant agency actions that may be implicated by the

executive orders.” Id. at 4; see also Tr. of Jan. 28 at 27 (“If there are executive order reasons or

rationales for the termination of other grants either before or after OMB’s guidance, perhaps they

fall into the case as we proceed but they would not be subject to the administrative stay.”); id. at 29




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(“So anything that was terminated pursuant to other executive orders I think is fodder for another

lawsuit.”).

       Nevertheless, earlier today, OMB elected to rescind Memo M-25-13. See OMB Mem. M-

25-14, Rescission of M-25-13 (Jan. 29, 2025) (“OMB Memorandum M-25-13 is rescinded.”)

(attached hereto). Because of the rescission of the challenged action in this case, Plaintiffs’ claims

are moot, and there is no need for prospective relief—let alone emergency relief in the form of a

temporary restraining order—against the now-withdrawn Memorandum. Nonetheless, because

Defendants understand that Plaintiffs disagree with this position (pursuant to discussions between

the parties earlier today), Defendants intend to submit a written filing consistent with the current

briefing schedule set by the Court—i.e., by 5:00 pm tomorrow, January 30, 2025.


Dated: January 29, 2025                               Respectfully Submitted,

                                                      BRETT A. SHUMATE
                                                      Acting Assistant Attorney General

                                                      ALEXANDER K. HAAS
                                                      Director

                                                      /s/ Daniel Schwei
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